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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

IN RE:                                             )           Chapter 13
                                                   )
DAVID E. TALADAY (deceased) and                    )           Case No. 16-80628-JJG-13
DIANA TALADAY,                                     )
       Debtors.                                    )

                      MOTION FOR EXTENSION OF TIME TO FILE
                    MOTION FOR ENTRY OF CHAPTER 13 DISCHARGE

         Diana Taladay ("Diana"), by counsel, in support of her motion states:

         1.     On April 20, 2022, the Chapter 13 Trustee filed his Notice of Plan Completion [Doc.

219] ("Trustee's Notice").

         2.     Diana is now required to file a Motion for Entry of Chapter 13 Discharge and

Debtor's Certification of Eligibility within thirty (30) days of the filing of the Trustee's Notice, or on

or before May 20, 2022.

         3.     In addition, Diana is required to take the Debtor Education / Personal Financial

Management course ("PFM Course").

         4.     Diana needs additional time to take the PFM Course, execute the Certification of

Eligibility and file her Motion for Entry of Chapter 13 Discharge.

         5.     This request is not made to unduly delay these proceedings.

         WHEREFORE, Diana Taladay requests a thirty (30) day extension of time, to and including

June 19, 2022, within which to take the PFM Course, execute the Certification of Eligibility and file

her Motion for Entry of Chapter 13 Discharge, and for all other just and proper relief.

                                               HESTER BAKER KREBS LLC

                                               By____/s/ David R. Krebs
                                                     David R. Krebs
                                                     Hester Baker Krebs LLC
                                                     One Indiana Square, Suite 1330
                                                     Indianapolis, IN 46204
                                                     (317) 833-3030; Fax: (317) 833-3031
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on May 13, 2022, a copy of the foregoing was filed electronically. Notice
of this filing will be sent to the following parties through the Court’s Electronic Case Filing System.
Parties may access this filing through the Court’s system.

             •   Donald J Bonomo dbonomo@coxlaw.net
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       I further certify that on May 13, 2022, a copy of the foregoing was mailed by first-class U.S.
Mail, postage prepaid, and properly addressed to the following:

       n/a


                                              /s/ David R. Krebs
                                              David R. Krebs
